       Case 4:19-cv-04482 Document 1 Filed on 11/14/19 in TXSD Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


RENEE JERFFERSON-SMITH                               §
a/k/a RENESHA R. JEFFERSON;                          §
RENESHA R. STONEHAM;                                 §
RENESHA PATTERSON                                    §
Plaintiff,                                           §
                                                     §
V.                                                   §      Civil Action No. 4:19-CV-4482
                                                     §
CITY OF HOUSTON, TEXAS;                              §
HARRIS COUNTY, TEXAS;                                §
CYNTHIA K. BAILEY;                                   §
AND DIANE TRAUTMAN                                   §
Defendants.                                          §

                DEFENDANT CYNTHIA K. BAILEY’S NOTICE OF REMOVAL

Defendant files this notice of removal under 28. U.S.C. § 1446(a).


                                      A. INTRODUCTION
     1. Plaintiff is Renee Jefferson-Smith a/k/a Renesha R. Jefferson; Renesha R. Stoneham;

        Renesha Patterson;

     2. Defendants are City of Houston, Texas; Harris County, Texas; Cynthia K. Bailey; and

        Diane Trautman.

     3. On November 7, 2019 Plaintiff filed her Original Suit for Declaratory Judgment to have

        Defendant Cynthia K. Bailey removed from the upcoming election ballot on December 14,

        2019.

     4. Defendant was served with the suit on November 11, 2019 at approximately 8:30 p.m.

        Although the case was not removed when originally filed, it became removable on October

        13, 2019, because of an amended pleading. 28 U.S.C. §1446(b)(3); see Mumfrey v. CVS

        Pharm., Inc., 719 F.3d 392, 397-98 (5th Cir. 2013). Defendant files this notice of removal

        within 30 days after receiving the amended pleading.
   Case 4:19-cv-04482 Document 1 Filed on 11/14/19 in TXSD Page 2 of 3




5. Removal is proper because plaintiff’s suit involves a federal question. 28 U.S.C. §§1331,

   1441 (a); Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 312

   (2005); Broader v. Cablevision Sys.Corp., 418 F.3d 187, 194 (2nd Cir. 2005); Peters v.

   Union Pac. R.R., 80 F.3d 257, 260 (8th Cir. 1996). Specifically, plaintiff’s claim arises

   under state law but the resolution of the case necessarily depends on a substantial question

   of federal law. Dixon v. Coburg Dairy, Inc., 369 F.3d 811, 816 (4th Cir.2004); see

   Franchise Tax. Bd. V Construction Laborers Vacation Trust, 463 U.S. 1, 9 (1983). Plaintiff

   is asking a State Court to void the will of the voters whom cast their votes for Defendant

   Cynthia Bailey. This request would involve the Court resolving the issue of the First

   Amendment rights to free speech of the Voters and Defendant Cynthia Bailey in light of

   various local and state rules or regulations.

6. Consent of Defendant City of Houston, Texas, Defendant Harris County, Texas, and

   Defendant Diane Trautman is not necessary because the lawsuit involves a federal-question

   claim and a nonremovable claim, and the federal-question claim is not asserted against City

   of Houston, Texas, Harris County, Texas, and Defendant Diane Trautman.

7. Copies of all pleadings, process, orders, and other filings in the state-court suit are attached

   to this notice as required by 28 U.S.C. §1446(a).

8. Venue is proper in this district under 28 U.S.C. §1441(a) because the state court where the

   suit has been pending is located in this district.

9. Defendant will promptly file a copy of this notice of removal with the clerk of the state

   court where the suit has ben pending.
   Case 4:19-cv-04482 Document 1 Filed on 11/14/19 in TXSD Page 3 of 3




                                     B. JURY DEMAND

10. Plaintiff did not demand jury in state-court suit.

                                      C. CONCLUSION

11. The Federal Court must decide if a private citizen can seek government intervention to

   void the voters First Amendment right to speech given the fact that the voters exercised

   their right to free speech to nominate candidate Cynthia K. Bailey. For these reasons,

   defendant asks the Court to remove the suit to the United States District Court Southern

   District of Texas Houston Division.




                                           Respectfully submitted,



                                           THE OLIVER J. LAW FIRM, PLLC.
                                           4141 Southwest Freeway, Suite 390
                                           Houston, Texas 77027
                                           O: (713) 851-1110
                                           C: (281) 788-8074
                                           F: (281) 596-6951
                                           oliver@theoliverjlawfirm.com


                                           By:/s/Oliver J. Brown_____
                                              Oliver J. Brown, Esq.
                                              State Bar No. 24087222
                                              SD TX Fed Id. 2276574
                                              Attorney-In-Charge for Cynthia K. Bailey
